Case 1:07-cv-01080-LJO-GSA Document 327 Filed 03/10/10 ETL = Tr)

IN THE UNITED STATES DISTRICT COURT MAR 10 2010
CLERK, U.S. DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA EASTER Bibi CAEP ANIA
or
DEP! CLERK

ROGER McINTOSH, CASE NO. CV F 07-1080 LJO GSA

Plaintiff,

V5.

NORTHERN CALIFORNIA
UNIVERSAL ENTERPRISES,
INC., LOTUS DEVELOPMENTS,
LP, THE CITY OF WASCO, AND
DENNIS W. DeWALT, INC.,

Defendants.

NOTE FROM THE JURY

\Z_ The jury has reached a unanimous verdict.

____ The jury requests the following :

_____ The jury has the following question(s):

DATED: March [© 2010 C Viti Z——

PRESIDING JUROR

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